CLASSIFIED BY: NSIce *+-03-md-0

REASON: 1.4 (c) Case T°03S-m0-01570-GBD-SN Document 6848-1 Filed 06/0
DECLASSIFY ON: 12-31-2046

DATE: 06-03-2021

U.S. Department of Justice

United States Attorney
Southern District of New York

86 Chambers Street, 3rd floor
New York, New York 10007

April 29, 2021

SUBMITTED EX PARTE, FOR
IN CAMERA REVIEW

By Hand via Classified Information Security Officer

Hon. Sarah Netburn

U.S. Magistrate Judge

Thurgood Marshall U.S. Courthouse
40 Foley Square

New York, NY 10007

Re: In re Terrorist Attacks on September 11, 2001
03 MDL 1570 (GBD) (SN)

(Dear Judge Netburn:

e submit this letter in further support of the FBI’s letter of April 29, 2021,
and in opposition to the letter motion filed by the Plaintiffs’ Executive Committees
(“PECs”) on April 26, 2021 (ECF No. 6763), seeking an order compelling the Federal
Bureau of Investigation (“FBI”) to produce additional phone records, as listed in
Appendix I of that letter.

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a: ollowing the Court’s February 1, 2021 Order, the FBI again

con a searches for unprivileged toll records associated with all the numbers listed in
the Fifth Hunt Declaration

The FBI has produced phone records that it located as a

Although the Court’s Order only required the FBI to search for phone
records to the extent it had not previously conducted searches, the FBI went beyond what

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Wwe thank the Court for its consideration of this submission.

Respectfully,

AUDREY STRAUSS
United State Attorney for the
Southern District of New York

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